          Case 1:23-cr-00665-LAK Document 31
                                          30 Filed 07/02/24
                                                   07/01/24 Page 1 of 1




                                                                                      7/2/2024



MEMO ENDORSED
                                                July 1, 2024


 BY ECF
 Hon. Lewis A. Kaplan
 United States District Judge                              Granted to the extent that the
 Southern District of New York                             defendant may attend the family
 500 Pearl Street                                          barbecue on July 4 from 2 p.m. until
 New York, New York 10007                                  7 p.m. and otherwise denied.
                                                                                        7/2/2024
 Re:   United States v. Kahron Robinson,
       23 Cr. 665 (LAK)

 Dear Judge Kaplan,

       Kahron Robinson, through undersigned counsel, respectfully requests a
 temporary bail modification to permit him to leave his home on Thursday, July 4,
 from 2:00 p.m. to 11:00 p.m., so that he may attend a family holiday cookout at
 Riverbank State Park in Manhattan.

       Mr. Robinson has been on home detention since October 2023. This Court has
 previously granted him permission to leave his home for family social events on
 several occasions—most recently events on Mother’s Day weekend in May—and he
 has returned home without incident on each occasion.

       Pretrial advises that it objects “per policy” to social requests for defendants on
 home detention, but it has not identified any specific issue with Mr. Robinson’s
 compliance with supervision or with this request. The government defers to Pretrial.

                                                Respectfully submitted,
                                                 /s/
                                                Clay H. Kaminsky
                                                Assistant Federal Defender
                                                (212) 417-8749
 cc:   AUSA Emily Deininger
       USPSOs Dominique Jackson and Francesca Piperato (by email)
